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                                           United States District Court
                                                 Western District
                                           Exhibits Log: A-23-cv-1004
                                            Tiede v Collier, 7/30/2024



EXHIBIT    DESCRIPTION                                                                                RLS

Pla-3      Morbidity and Mortality                                                                    No

Pla-6      Heat Related Deaths During the July 1995 Heat Wave in Chicago                              No

Pla-10     Changing Heat Related Mortality in the United States                                       No

Pla-11     Excessive Heat Events Guidebook                                                            No

Pla-13     Prognostic Factors in Heat Wave Related Deaths                                             No

Pla-15     CA Heat Wave Morbidity                                                                     No

Pla-17     The Effects of Temperature and Use of Air Conditioning on Hospitalizations                 No

Pla-23     Multiple Trigger Points                                                                    No

Pla-24     NWS Heat Index Chart                                                                       No

Pla-28     Old Autopsies Part 1                                                                       No

Pla-29     Old Autopsies Part 2                                                                       No

Pla-31     TDCJ Health Services Liaison Facility Types List                                           No

Pla-33     Risk Characterization of Hospitalizations                                                  No

Pla-34     Interim Report 2018 by the House Committee                                                 No

Pla-35     Influence of Heat Waves on Daily Hospital Visits                                           No

Pla-36     Correctional Managed Health Care Policy Manual Heat Stress                                 No

Pla-42     Heat Related Deaths                                                                        No

Pla-43     The Implications of Hypothalamic Abnormalities                                             No

Pla-44     Use of Multiple Anticholinergic Medications                                                No

Pla-45     After Sweltering Temperatures Killed Texas Prisoners                                       No

Pla-46     Global Mortality From Nonoptimal Temperatures                                              No

Pla-50     Antipsychotic Medication Induced Hyperthermia                                              No

Pla-54     Association of Extreme Heat with All Cause Mortality                                       No

Pla-55     Extreme Temperatures and Covid19                                                           No

Pla-62     Lioness Members Inside Data AEO                                                            No

Pla-69     TBCJ 225th Meeting Minutes                                                                 No

Pla-70     Provision of Air Conditioning and Heat-Related Mortality v2                                No

Pla-73     2022 Associations Between Extreme Temperatures and Cardiovascular                          No

Pla-75     Heat Related Mortality                                                                     No

Pla-76     Schizophrenia Pinpointed as a Key Factor in Heath Deaths                                   No

Pla-81     Picture of Mr Bernhardt Tiede II                                                           No

Pla-84     Pulvino Email TIEDE DEF0107957                                                             No

Pla-85     Attachment to Pulvino Email                                                                No

Pla-91     Extreme Heat and Suicide Watch                                                             No

Pla-102    Temperature Report by TDCJ                                                                 No

Pla-103    Mental Illness and Increased Vulnerability                                                 No

Pla-113    Vassallo Declaration                                                                       No

Pla-124    Unit Directory by the TDCJ                                                                 No

Pla-128    High Value Data Sets-reduced                                                               No


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EXHIBIT      DESCRIPTION                                                                                RLS

Pla-132      TDCJ Temperature Report FY2020                                                             No

Pla-137      Jason Wilson Emsg                                                                          No

Pla-146      TPCA Mailing List of Incarcerated Individuals                                              No

Pla-147      Examples of More than 25 Official TPCA Team Member Incarcerated Volunteers                 No

Pla-148      TX CURE Inmate Master Mailing List                                                         No

Pla-150      TDCJ Air Conditioning Construction Projects                                                No

Pla-152      Wilson Death Report                                                                        No

Pla-161      Castillo Death Packet UPDATED                                                              No

Pla-161-A    Castillo OIG UPDATED                                                                       No

Pla-161-B    Castillo AIR UPDATED                                                                       No

Pla-168      Gonzales Death Packet UPDATED                                                              No

Pla-168-A    Gonzales AIR UPDATED                                                                       No

Pla-169      Hargerty Death Packet UPDATED                                                              No

Pla-169-A    Hagerty AIG UPDATED                                                                        No

Pla-191      Skinner Death Packet UPDATED                                                               No

Pla-192      Southards Death Packet UPDATED                                                             No

Pla-192-A    Southards OIG Report UPDATED                                                               No

Pla-192-B    Southards AIR UPDATED                                                                      No

Pla-200      Womack Death Packet UPDATED                                                                No

Pla-200-A    Womack OIG UPDATED                                                                         No

Pla-200-B    Womack AIR UPDATED                                                                         No

Pla-204      Colliers Response to ROG 2                                                                 No

Pla-207      Mr Colliers Response to ROG 10                                                             No

Pla-210      Mr Colliers Response to RFP 20Part1-reduced                                                No

Pla-214      Follow up call on WC                                                                       No

Pla-214-A    Follow up call on WC                                                                       No

Pla-238      Picture of Mr Bernhardt Tiede II 2016                                                      No

Pla-239      Tiede OAG Medical Records                                                                  No

Pla-241      Video of Mr Tiede 1                                                                        No

Pla-241-A    Video of Mr Tiede 1                                                                        No

Pla-242      Video of Mr Tiede 2                                                                        No

Pla-242-A    Video of Mr Tiede 2                                                                        No

Pla-243      Video of Mr Tiede 3                                                                        No

Pla-243-A    Video of Mr Tiede 3                                                                        No

Pla-244      Video of Mr Tiede 4                                                                        No

Pla-244-A    Video of Mr Tiede 4                                                                        No

Pla-245      Video of Mr Tiede 5                                                                        No

Pla-245-A    Video of Mr Tiede 5                                                                        No

Pla-246      Video of Mr Tiede 6                                                                        No

Pla-246-A    Video of Mr Tiede 6                                                                        No

Pla-247      Video of Mr Tiede 7                                                                        No

Pla-247-A    Video of Mr Tiede 7                                                                        No

Pla-248      Video of Mr Tiede 8                                                                        No

Pla-248-A    Video of Mr Tiede 8                                                                        No


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EXHIBIT      DESCRIPTION                                                                                   RLS

Pla-249      Video of Mr Tiede 9                                                                           No

Pla-249-A    Video of Mr Tiede 9                                                                           No

Pla-251      Uribe CV                                                                                      No

Pla-254      Mr Colliers Responses to Plaintiffs First Set of Interrogatories                              No

Pla-264      Coffield Emsg 2024                                                                            No

Pla-265      Email from Kate Blifford to Bryan Collier re HAC Agenda                                       No

Pla-266      TDCJ Self Evaluation Report                                                                   No

Pla-269      Texas Prison Letter Chris Flores                                                              No

Pla-272      Email re JAMA Study Related to Heat and TDCJ Prison Deaths                                    No

Pla-274      Common comorbities                                                                            No

Pla-275      Severe nonexertional hyperthermia (classic heat stroke) in adults - UpToDate - 8-1-24         No

Pla-276      Drugs Associated with Heat Stress                                                             No

Pla-277      Region VI, Administrative Incident review re: Smith                                           No

Pla-277-A    detailed - Region VI, Administrative Incident review re: Smith                                No

Def-1        TDCJ AD-10.64 (r. 9-11)                                                                       No

Def-3        [49870] INHET003 Curent HSS Inmates 7-23-24.pdf                                               No

Def-4        [49871] INHET004 Changed HSS Inmates 7-23-24.pdf                                              No

Def-8        [47618-47624] 2024 CID Seasonal Prepard Eml.pdf                                               No

Def-9        TDCJ-CID 2024 Seasonal Prepard Chklsts [47666-48172].pdf                                      No

Def-10       [48303-48315] 2024 Heat Strike Team Rprts.pdf                                                 No

Def-12       [67997-68002] Posters & Pocket Card.pdf                                                       No

Def-13-C     Correct Awar - Inf Cntrl, First Aid, CPR [49893-49917].pdf                                    No

Def-13-D     Pre-Srvc - Go Home to Your Family [49918-49935].pdf                                           No

Def-17       [69489] 2023 AC Projects Phase I Update.pdf                                                   No

Def-18       [69490-69491] Architect-Engineer Require.pdf                                                  No

Def-19       [69495] Outside A-E.pdf                                                                       No

Def-21       [69497] Draft Four-Phase Installation.pdf                                                     No

Def-23       [69499] HVAC FY 22-23 Projects.pdf                                                            No

Def-31       LIONESS 8-23 - BUI Bylaws.pdf                                                                 No

Def-33       [69559-69562] 20240725 SOS Request.pdf                                                        No

Def-34       TPCA 1-6 - TPCA Articles of incorporation.pdf                                                 No

Def-35       TPCA 7-12 - TPCA Bylaws.pdf                                                                   No

Def-51       DOJ Table 2_2022 prison pop by state.pdf                                                      No

Def-53       [68003-68005] Seasonal Prep Tele agenda 2024.pdf                                              No

Def-54       [00139-00159] TDCJ-CID Seas Prep Direct 2019-2023.pdf                                         No

Def-56       [67989-67991] I-204 comb.pdf                                                                  No

Def-69       Certif Copy Build-up Inc                                                                      No

Def-70       TDCJ FY202 Temperature Report                                                                 No

Def-72       Email regarding mail                                                                          No

Def-76       TDCJ Temperature Logs                                                                         No

Def-78       email chain                                                                                   No

Def-79       TDCJ Unit Prototypes chart                                                                    No




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